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6                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
7
      UNITED STATES OF AMERICA,
8
                                               NO. CR-09-0015-EFS-14
                       Plaintiff,
9
                                               PRELIMINARY ORDER OF
                 v.                            FORFEITURE
10

11    KHUONG VAN HUYNH (14),

12                     Defendant.
13

14
          Pursuant to Federal Rule of Criminal Procedure 32.2(b), IT IS HEREBY
15
     ORDERED: Defendant shall forfeit the assets, as outlined below, to the
16
     United States pursuant to 21 U.S.C. § 853, as property constituting or
17
     derived from proceeds obtained, directly or indirectly, as a result of
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     the violations to which Defendant pled guilty, and as property used, or
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20   intended to be used, in any manner or part, to commit, or to facilitate

21   the commission of those violations, including: $28,000.00 U.S. Currency

22   seized on or about June 25, 2008.

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     ORDER ~ 1
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1          IT IS SO ORDERED. The District Court Executive is directed to enter
2    this Order and to provide copies to all counsel.
3
           DATED this      26th    day of January 2010.
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5
                                         s/Edward F. Shea
6                                        EDWARD F. SHEA
                                  United States District Judge
7

8    Q:\Criminal\2009\15.14.prelim.forfeit.wpd

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     ORDER ~ 2
